                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )      NO. 3:12-00076
                                                      )      JUDGE CAMPBELL
ANTHONY JAMES                                         )

                                              ORDER

         Pending before the Court is an Unopposed Motion to Extend Plea Deadlines (Docket No.

301). The Motion is GRANTED in part and DENIED in part.

         The deadline for submitting any plea agreement as to Anthony James only is extended to

March 23, 2014. The plea remains scheduled for March 24, 2014, at 1:00 p.m.

         It is so ORDERED.



                                                      _________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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